        Case 1:15-cv-00045 Document 15 Filed in TXSD on 08/19/15 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                BROWNSVILLE DIVISION

RAUL CHAPA AND ELOISA CHAPA                            §

VS.                                                    §            Civil Action 1:15-cv-00045

STATE FARM LLOYDS                                      §

                        PLAINTIFFS’ MOTION FOR JUDGMENT ON
                          DEFENDANT’S OFFER OF JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:
         COME NOW RAUL CHAPA AND ELOISA CHAPA, Plaintiffs in the

above-numbered and entitled civil action, and move this court to render a judgment against the

Defendant STATE FARM LLOYDS for the sum of $9,500.00, and in support hereof state the

following:

         1.     On or about July 20, 2015, pursuant to Rule 68 of the Federal Rules of Civil

Procedure, the Defendant offered by written notice served on the Plaintiffs to permit judgment

against it in the amount of $9,500.00 (nine thousand five hundred and no/100 dollars) inclusive of

all costs now accrued, interest, attorney’s fees and any other amount that may be awarded to

Plaintiffs pursuant to statute or rule.

         2.     On or about July 23, 2015, the Plaintiffs notified the Defendant, in writing, that

they were accepting the Defendant’s offer to permit judgment against Defendant dated July 20,

2015.

         3.     On or about August 14, 2015, the Plaintiffs filed, with the clerk of the court, a copy

of the Defendant’s offer of judgment and a copy of the Plaintiffs’ acceptance of the offer together

with proof of service of the acceptance.

C:\MyDocuments\MyFiles\Litigation\R.Chapa\Motion for Judgment.RBC           //13-017G//        Page 1
      Case 1:15-cv-00045 Document 15 Filed in TXSD on 08/19/15 Page 2 of 3



        Now, therefore, the Plaintiffs request that the court render a final judgment in this civil

action upon said Offer and Acceptance, for the sum of $9,500.00 inclusive of costs, interest, and

attorney’s fees, and that such judgment be entered in the records of this case. A form of the

judgment requested by Plaintiffs is attached hereto as Exhibit “A”.

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that this court render a

final judgment in this civil action against Defendant for the sum of $9,500.00 inclusive of costs,

interest, and attorney’s fees, and grant such other and further relief as they may show themselves

justly entitled to.



                                                     Respectfully submitted,

                                                     GUERRERO LAW FIRM
                                                     1001 S. 10th Street
                                                     Tiffany Plaza Executive Business Center 1,
                                                     Suite 221
                                                     McAllen, Texas 78501
                                      Phone:         (956) 457-0444
                                      Fax:           (866) 459-6571
                                      Email:         jrguerrero@thejrglawfirm.com




                                               By: ______________________________________
                                                      JOSE R. GUERRERO
                                                      State Bar No. 08581427
                                                      Fed Id. No. 12190
                                                      ATTORNEY FOR PLAINTIFFS




C:\MyDocuments\MyFiles\Litigation\R.Chapa\Motion for Judgment.RBC        //13-017G//         Page 2
     Case 1:15-cv-00045 Document 15 Filed in TXSD on 08/19/15 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, Jose R. Guerrero, certify that on August 19, 2015, a true and correct copy of this
PLAINTIFFS’       MOTION       FOR     JUDGMENT         ON    DEFENDANT’S     OFFER     OF
JUDGMENT was served on David R. Stephens, One Riverwalk Place, 700 N. St. Mary’s Street,
San Antonio, Texas 78205, Attorney for Defendant via telephonic document transfer to (210)
227-4602.




                                                    _______________________
                                                    JOSE R. GUERRERO




C:\MyDocuments\MyFiles\Litigation\R.Chapa\Motion for Judgment.RBC   //13-017G//       Page 3
